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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                  :              21 Cr. 537 (JMC)

v.                                             :

JAMES TATE GRANT                               :

Defendant.                                     :


             DEFENSE MOTION FOR TRANSFER TO WASHIGNTON, D.C.

       The trial of this case is scheduled to commence on October 23, 2023. The defendant is

currently incarcerated at the FCI Lewisburg, Pennsylvania. The defense requests that this Court

enter an Order directing the United States Marshals Service to move Mr. Grant directly from FCI

Lewisburg to the District of Columbia Central Treatment Facility (“CTF”), in order to ensure

that defense counsel has sufficient access to consult personally with his client prior to trial.

       As the Court is undoubtedly aware, the conditions of confinement at the D.C. Central

Detention Facility (colloquially known as the D.C. Jail) were found to be “unacceptable” by the

Marshals Service in November 2021 and federal inmates were moved to other facilities. See

https://www.usmarshals.gov/news/press-release/statement-us-marshals-service. Undersigned

counsel has recently visited the D.C. Jail and the current conditions appear equally

unsatisfactory.

       Undersigned thus specifically asks this Court to direct the Marshals to house the

defendant at the CTF and not in the DC Jail. Moreover, counsel also requests that the defendant

not be housed in a state jail such as the Northern Neck Regional Jail in Warsaw, Virginia or the

Central Virginia Regional Jail in Orange, Virginia – both of which are approximately two hours

from downtown D.C. and which have much more limited hours for in person legal visitation.

Undersigned believes that this Court has the authority to order the defendant to be housed at the



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CTF. See United States v. Medina, 628 F.Supp.2d 52, (D.D.C. 2009)(district court has

“jurisdiction” to designate a defendant to the CTF)(Lamberth, J.).

       Since undersigned entered his appearance in this case, defendant Grant has been housed

in Pennsylvania. The trial of this case is fast approaching and undersigned needs to review all of

the Government’s putative evidence for trial with his client and to discuss the defense against

these charges. Accordingly, the defense respectfully this Court’s assistance to Order the

defendant moved to the CTF.

       A proposed Order is attached hereto for the Court’s review.


                                                     Respectfully submitted,

                                                     Robert Feitel

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via ECF to the Assistant United
States Attorneys listed on the case docket and counsel for the co-defendants, this 26th day of
September, 2023.



                                             Robert Feitel

                                             ___________________________
                                             Robert Feitel




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